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       EXHIBIT A:
   June 10, 2020 Transcript Excerpts
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                                                                         Volume 3

                                                                         Pages 326 - 508

                            UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA

                      BEFORE THE HONORABLE EDWARD M. CHEN

FOOD & WATER WATCH, INC., et al,   )
                                   )
                                   )
             Plaintiffs,           )
                                   )
  vs.                              ) No. C 17-2162 EMC
                                   )
U.S. ENVIRONMENTAL PROTECTION      )
AGENCY, et al,                     )
                                   ) San Francisco, California
             Defendants.           ) Wednesday
                                   ) June 10, 2020
___________________________________) 8:30 a.m.

        TRANSCRIPT OF REMOTE ZOOM BENCH TRIAL PROCEEDINGS

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                                        _    _    _




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1    discussion, so there is nothing to strike.

2                 MS. BHAT:          All right, Your Honor.                 Thank you.

3                 THE COURT:          Okay.

4                 MR. CONNETT:            So, Your Honor, I probably have about

5    five minutes left and then that will be the end of our

6    questioning.        I know we're reaching about 1:30 and that's the

7    close time.

8          Does Your Honor have a preference as to whether we --

9                 THE COURT:          Why don't you complete your five minutes,

10   and then we'll pick up with cross on, I guess, Friday morning.

11                MR. CONNETT:            Okay.

12                THE COURT:          Is that all right?

13   BY MR. CONNETT

14   Q.    Now, Dr. Thiessen, in your expert report and declaration

15   you talk about some findings from the NRC or discussion from

16   the NRC on neurological manifestations that have been

17   associated with fluoride exposure in humans; is that correct?

18   A.    Yes.

19   Q.    Can you explain for the Court what -- can you explain for

20   the Court the evidence or the reports that NRC looked at?

21   A.    NRC looked at reports certainly by Waldbott, and there's

22   also earlier ones by Rohan, reporting neurological things like

23   headaches and other sorts of things.                        Rohan reported those in

24   cryolite workers way back.

25         And one interesting thing is that among workers who had

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1    quit their jobs because it was making them sick, many of them

2    reported having these neurological problems during the time

3    that they were employed.

4          Dr. Waldbott, who is probably the nation's premier allergy

5    specialist at the time reported these adverse responses to

6    fluoride, including the neurological manifestations.                   He's the

7    same doctor who reported associations of lung disease in

8    smoking and, also, penicillin allergy.

9          And he actually ran, you can almost call them experiments

10   with his patients, noting what happened or didn't happen if

11   they did or didn't drink fluoridated water on a particular day

12   or for a period of time and the vast majority of cases without

13   the knowledge of the patient as to which was which.                   And in

14   many cases the doctor was blinded to the current exposure also.

15         So it's -- it's a consistent set of evidence in that the

16   NRC report does -- does discuss that very briefly.

17   Q.    Did the --

18               MS. BHAT:         Your Honor, it would appear that some of

19   that answer is also beyond the scope of the expert disclosure.

20         To the extent that the NRC document reflects this

21   discussion, I believe it's still within the scope, but I think

22   beyond that would certainly be outside the scope.

23               THE COURT:         All right.           What was just testified to in

24   the NRC report, counsel?

25               MR. CONNETT:           Yes.      The NRC report talks about

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1    neurological manifestations in case reports of sensitive

2    individuals.

3                 THE COURT:          But did it talk about the -- this

4    particular study of the -- the experimental data?

5                 MR. CONNETT:            Yes.      It cites -- NRC report cites

6    George Waldbott's case reports as the basis for its discussion.

7                 THE COURT:          All right.           Unless I hear evidence to the

8    contrary, I'll allow it.

9    BY MR. CONNETT

10   Q.    Dr. Thiessen, did the NRC find Dr. Waldbott's case reports

11   to be credible?

12   A.    Yes.

13                THE COURT:          What period of time -- when was the

14   Waldbott report?           Were these the ones back from the '30s?

15                MR. CONNETT:            No.

16                THE WITNESS:            1950s.

17                THE COURT:          50's, okay.           Thank you.

18   BY MR. CONNETT

19   Q.    And Dr. Waldbott in his case reports identified -- did he

20   identify a number of neurological manifestations?

21   A.    Yes.

22   Q.    And was one of those neurological manifestations

23   headaches?

24   A.    Yes.

25   Q.    Did Dr. Waldbott's report indicate whether some

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1    individuals are more sensitive to fluoride than others?

2    A.     Yes.

3    Q.     Now, I'll just conclude with a few final questions here.

4    Dr. Thiessen, are you a legal expert?

5    A.     No.

6    Q.     Are you an expert on the statutory interpretation of the

7    Toxic Substances Control Act?

8    A.     No.

9    Q.     Are you an expert on how manufacturers go about submitting

10   draft risk evaluations to the EPA?

11   A.     I've read several, but I'm not an expert on it.

12   Q.     Are you an expert on how the Court will go about reaching

13   its decision in this case?

14   A.     No.

15   Q.     Are you an expert on what EPA will do if the Court finds

16   there to be an unreasonable risk?

17   A.     No.

18                 MR. CONNETT:            Your Honor, at this time plaintiffs

19   have no further questions.

20                 THE COURT:          All right.           Then we will adjourn for the

21   day.

22          Thank you, Dr. Thiessen.                   We will need you back to

23   complete your testimony when the government has a chance to ask

24   questions of you.

25                 THE WITNESS:            Yes, sir.

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                     CERTIFICATE OF REPORTER




     I certify that the foregoing is a correct transcript from

the record of proceedings in the above-entitled matter.




              ___________________________________

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                     Wednesday, June 10, 2020
